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                                                        Filed: February 19, 2009


                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

                              __________________________

                              TRANSCRIPT SANCTION NOTICE
                                TWENTY PERCENT SANCTION
                              __________________________



        TO: Tracy Dunlap

               No. 07-4059 (L), US v. Learley R. Goodwin
                                8:04-cr-00235-RWT
              The transcript in this case is overdue by more than 30

        days, requiring that the court reporter reduce the fee charged

        for preparation of the transcript by 20%, in accordance with the

        Guidelines for Preparation of Appellate Transcripts in the

        Fourth Circuit. The Court therefore directs the court reporter

        to file a transcript certification form with this Court when the

        transcript is filed with the District Court, certifying that the

        20% sanction has been taken on the transcript fees charged in

        this case. The certification form is attached to this notice and

        is available at www.ca4.uscourts.gov.

              Should the transcript become more than 60 days overdue, the

        Guidelines provide that notice of the default and of the

        Guidelines' provision for removal of a court reporter from the

        courtroom if the transcript becomes 90 days overdue will be
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        provided to the Chief District Judge and the Judge to whom the

        court reporter reports.

                                                       PATRICIA S. CONNOR
                                                       CLERK
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                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT


                             TRANSCRIPT CERTIFICATION FORM


         Identify all transcript filed by proceeding and date, filed
         date, and sanction taken:

         Appeal Number: 07-4059 (L)
         Caption: US v. Learley R. Goodwin

         Court Reporter: Tracy Dunlap

         Proceedings:




         Date Due:

         Date Filed:

         Percent Sanction Taken:

         Signature:

         Date:
